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                          EXHIBIT 6
 1     NOTE! This
          Case:    copyright does
                1:18-cv-05369     *not* #:
                              Document   cover
                                           33-6 the
                                                Filed:so-called  "standalone"
                                                        10/15/18 Page 2 of 6 PageID   #:892
 2   applications that use U-Boot services by means of the jump table
 3   provided by U-Boot exactly for this purpose - this is merely
 4   considered normal use of U-Boot, and does *not* fall under the
 5   heading of "derived work".
 6
 7     The header files "include/image.h" and "include/asm-*/u-boot.h"
 8   define interfaces to U-Boot. Including these (unmodified) header
 9   files in another file is considered normal use of U-Boot, and does
10   *not* fall under the heading of "derived work".
11
12     Also note that the GPL below is copyrighted by the Free Software
13   Foundation, but the instance of code that it refers to (the U-Boot
14   source code) is copyrighted by me and others who actually wrote it.
15   -- Wolfgang Denk
16
17   =======================================================================
18
19                GNU GENERAL PUBLIC LICENSE
20                   Version 2, June 1991
21
22    Copyright (C) 1989, 1991 Free Software Foundation, Inc.
23        59 Temple Place, Suite 330, Boston, MA 02111-1307 USA
24    Everyone is permitted to copy and distribute verbatim copies
25    of this license document, but changing it is not allowed.
26
27                    Preamble
28
29     The licenses for most software are designed to take away your
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31   License is intended to guarantee your freedom to share and change free
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34   Foundation's software and to any other program whose authors commit to
35   using it. (Some other Free Software Foundation software is covered by
36   the GNU Library General Public License instead.) You can apply it to
37   your programs, too.
38
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40   price. Our General Public Licenses are designed to make sure that you
41   have the freedom to distribute copies of free software (and charge for
42   this service if you wish), that you receive source code or can get it
43   if you want it, that you can change the software or use pieces of it
44   in new free programs; and that you know you can do these things.
45
46     To protect your rights, we need to make restrictions that forbid
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48   These restrictions translate to certain responsibilities for you if you
49   distribute copies of the software, or if you modify it.
50
51     For example, if you distribute copies of such a program, whether
52   gratis or for a fee, you must give the recipients all the rights that
53   you have. You must make sure that they, too, receive or can get the
54   source code. And you must show them these terms so they know their
55   rights.
56
57     We protect your rights with two steps: (1) copyright the software, and
58   (2) offer you this license which gives you legal permission to copy,
59   distribute and/or modify the software.
60
61     Also, for each author's protection and ours, we want to make certain
62   that everyone understands that there is no warranty for this free
63   software. If the software is modified by someone else and passed on, we
64   want its recipients to know that what they have is not the original, so
65   that any problems introduced by others will not reflect on the original
66   authors' reputations.
67
68     Finally, any free program is threatened constantly by software
69   patents. We wish to avoid the danger that redistributors of a free
 70   program will
           Case:    individually
                 1:18-cv-05369   obtain patent
                               Document #: 33-6 licenses,   in effect
                                                Filed: 10/15/18 Page 3making  the
                                                                       of 6 PageID   #:893
 71   program proprietary. To prevent this, we have made it clear that any
 72   patent must be licensed for everyone's free use or not licensed at all.
 73
 74     The precise terms and conditions for copying, distribution and
 75   modification follow.
 76   FF
 77               GNU GENERAL PUBLIC LICENSE
 78      TERMS AND CONDITIONS FOR COPYING, DISTRIBUTION AND MODIFICATION
 79
 80     0. This License applies to any program or other work which contains
 81   a notice placed by the copyright holder saying it may be distributed
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 83   refers to any such program or work, and a "work based on the Program"
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 87   language. (Hereinafter, translation is included without limitation in
 88   the term "modification".) Each licensee is addressed as "you".
 89
 90   Activities other than copying, distribution and modification are not
 91   covered by this License; they are outside its scope. The act of
 92   running the Program is not restricted, and the output from the Program
 93   is covered only if its contents constitute a work based on the
 94   Program (independent of having been made by running the Program).
 95   Whether that is true depends on what the Program does.
 96
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101   notices that refer to this License and to the absence of any warranty;
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103   along with the Program.
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107
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110   distribute such modifications or work under the terms of Section 1
111   above, provided that you also meet all of these conditions:
112
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114       stating that you changed the files and the date of any change.
115
116       b) You must cause any work that   you distribute or publish, that in
117       whole or in part contains or is   derived from the Program or any
118       part thereof, to be licensed as   a whole at no charge to all third
119       parties under the terms of this   License.
120
121       c) If the modified program normally reads commands interactively
122       when run, you must cause it, when started running for such
123       interactive use in the most ordinary way, to print or display an
124       announcement including an appropriate copyright notice and a
125       notice that there is no warranty (or else, saying that you provide
126       a warranty) and that users may redistribute the program under
127       these conditions, and telling the user how to view a copy of this
128       License. (Exception: if the Program itself is interactive but
129       does not normally print such an announcement, your work based on
130       the Program is not required to print an announcement.)
131   FF
132   These requirements apply to the modified work as a whole. If
133   identifiable sections of that work are not derived from the Program,
134   and can be reasonably considered independent and separate works in
135   themselves, then this License, and its terms, do not apply to those
136   sections when you distribute them as separate works. But when you
137   distribute the same sections as part of a whole which is a work based
138   on the Program, the distribution of the whole must be on the terms of
139   this Case:
           License,  whose permissions
                 1:18-cv-05369 Documentfor other
                                        #: 33-6    licensees
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140   entire whole, and thus to each and every part regardless of who wrote it.
141
142   Thus, it is not the intent of this section to claim rights or contest
143   your rights to work written entirely by you; rather, the intent is to
144   exercise the right to control the distribution of derivative or
145   collective works based on the Program.
146
147   In addition, mere aggregation of another work not based on the Program
148   with the Program (or with a work based on the Program) on a volume of
149   a storage or distribution medium does not bring the other work under
150   the scope of this License.
151
152     3. You may copy and distribute the Program (or a work based on it,
153   under Section 2) in object code or executable form under the terms of
154   Sections 1 and 2 above provided that you also do one of the following:
155
156       a) Accompany it with the complete corresponding machine-readable
157       source code, which must be distributed under the terms of Sections
158       1 and 2 above on a medium customarily used for software interchange; or,
159
160       b) Accompany it with a written offer, valid for at least three
161       years, to give any third party, for a charge no more than your
162       cost of physically performing source distribution, a complete
163       machine-readable copy of the corresponding source code, to be
164       distributed under the terms of Sections 1 and 2 above on a medium
165       customarily used for software interchange; or,
166
167       c) Accompany it with the information you received as to the offer
168       to distribute corresponding source code. (This alternative is
169       allowed only for noncommercial distribution and only if you
170       received the program in object code or executable form with such
171       an offer, in accord with Subsection b above.)
172
173   The source code for a work means the preferred form of the work for
174   making modifications to it. For an executable work, complete source
175   code means all the source code for all modules it contains, plus any
176   associated interface definition files, plus the scripts used to
177   control compilation and installation of the executable. However, as a
178   special exception, the source code distributed need not include
179   anything that is normally distributed (in either source or binary
180   form) with the major components (compiler, kernel, and so on) of the
181   operating system on which the executable runs, unless that component
182   itself accompanies the executable.
183
184   If distribution of executable or object code is made by offering
185   access to copy from a designated place, then offering equivalent
186   access to copy the source code from the same place counts as
187   distribution of the source code, even though third parties are not
188   compelled to copy the source along with the object code.
189   FF
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246   FF
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274   of promoting the sharing and reuse of software generally.
275
276                    NO WARRANTY
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285   PROGRAM PROVE DEFECTIVE, YOU ASSUME THE COST OF ALL NECESSARY SERVICING,
286   REPAIR OR CORRECTION.
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